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AO 9l (Rev. 08/09) Criminal Comp|aint

UNITED STATES DISTRICT COURT

for the
Southern District of Florida

 

United States of America )
v. )
RE|N|ER KOOLE ) Case No. 10-8266-Jl\/|H

)

)

)

Defendant(s)
CRIMINAL COMPLAINT

l, the complainant in this case, state that the following is true to the best of my knowledge and beliet`.

Otl Or abOllt the dat€(S) Of ry September 157,,201_04 7 in the county of w n ¢>¢Ealrn~§eiachmkww__vw in the
__A_Sp_'glrl@vr_rj n d District of t w_[=|prvigra v .the defendant(s) violated:
Coa’e Sectt'on ()ffense Description
18 USC 930(a) and (b) did knowingly possess and cause to be present a Hrearm, that is a black

semi-automatic pisto|, serial number AS|\/|-86, in a Federal Faci|ity; and did
with the intent that the firearm be used or attempt to be used in the
commission of a crime, that is assaulting, intimidating or interfering with an
employee of the United States or agency of the United States in violation of
18 USC 111(a), knowingly possess a firearm in a Federa| Faci|ity.

 

This criminal complaint is based on these facts: FH_ED by ina D_C_

SEE ATTACHED AFF|DAV|T

SEP 1 5 2010

STEVF.N Nl. LARiMORE
CLERK U.S. DiST. CT.
S.D. OF FLA. - W.P.B.

 

 

 

d Continued on the attached sheet.

Complainant 's signature

, EALJW_LVMASTANDO,SDecia| Aqent,US VAOIG

 

Prt`nted name and title
Sworn to before me and signed in my presence
Z:lé;/£ ccccccc s /@a~.% 7/}€ /MW
Judge’ s sign%u're

City and State: WEST PALl\/| BEACH, FLOR|DA id JAl\/IES M. HOPK|NS1 US MAG|STRATE JUDGE

 

Printea' name and title

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ATTACHMENT A
AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Paul Mastando, Special Agent, United States Department of Veterans Affairs (“VA”),
Offlce of Inspector General (“OIG”), being duly sworn, state as follows:

I. INTRODUCTION

1. I am a Special Agent with the United States Department of Veterans Affairs
(VA), Office of Inspector General (OIG), Criminal Investigations Division (CID), and have been
so employed since July 201(). Prior to that l was a Special Agent with US Department of State
for over ll years. I am currently assigned to West Palm Beach Resident Agency, West Palm
Beach, Florida. My duties include investigations of programs and operations of the VA. These
investigations include, but are not limited to, healthcare fraud, benefits fraud, cemetery
administration fraud, fugitives, narcotics, general crimes, threats against employees and other
fraud against the Government.

2. This Affidavit is submitted in connection with an application for a warrant of
arrest for REINIER KOOLE, a 6’ 02”, white male, date of birth 1/7/1977, Social Security
Number XXX-XX-XXXX, who currently resides at 8561 Windy Circle, Boynton Beach, FL 334721.
I believe that there is probable cause that Reinier Koole, did, on or about 1325 hrs, 09/15/2010,
enter a United States federal facility, namely the Veteran`€ A (VA) Medical Center, located at
7305 N Military Trail Riviera Beach, FL, in possession/afr rm and in furtherance of his! g
endeavor to threaten and intimidate a VA employee who qobtained a temporary injunction ai % ;;/'
(Florida lSth Judicial Circuit (Palm Beach County) Case# 502-010-DRO_10867-XXX-XSB)
against him on 9/14/2010. The VA Medical Center posts and maintains signage at all entry
points that state “NO FIREARMS OR WEAPONS ALLOWED ON THIS PROPERTY 18 USC

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930.” Koole arrived without an appointment to speak with VA Police Chief Thomas Tomlinson
in room BA2621D of the VA medical Center. Chief Tomlinson and Detective Donald Prosser
both observed Koole possessed a semi automatic pistol during this meeting

3. Chief Tomlinson identified Koole by his blue veteran’s ID card and subject
introduced himself upon entry to the Chief`s office Koole said he was told by Palm Beach
County Sherriff"s Office to contact Chief To'mlinson for proper paperwork so he could obtain
reports in support of his efforts to obtain a restraining order against his eX-girlfriend who is a VA
employee Koole relayed that his ex-girlfriend had reported him to Florida’s Department of
Children and Families and he was upset over it. Koole said if the VA did not take care of it he
would. Chief Tomlinson said he takes that as a threat. Koole replied that it was not a threat but
frustration Chief Tomlinson asked Koole’s about his concealed carry weapon (CCW) permit
and if he recently bought a gun. Koole presented the CCW permit and told Chief he had the gun
right here. Koole patted his waist line and then pulled up his shirt to show him the weapon.
Chief observed that there was no magazine in the weapon and had Koole remove and place it on
the desk. Chief gave the weapon to VA Detective Processor who obtained the serial #ASM-86
from its backstrap. Det. Processor said the weapon was small, black semi-auto pistol, possibly
be a Glock, and believed it to be an actual weapon, not a replica.

4. Chief asked if Koole was aware of the policy prohibiting firearms on federal
property. Koole said no because he has a CCW permit, he was allowed to carry his firearms on
VA property. Koole said he saw the posted signs around the facility but said that it did not apply
to him because he had a concealed carry weapons permit, Chief explained that the signs did
apply and it was a violation. The sign states: “NO FIREARMS OR WEAPONS ALLOWED ON
THIS PROPERTY 18 USC 93(),” and does riot indicate exceptions for individuals possessing

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CCW permits. Detective Processor advised that KOOLE was in possession of a loaded
magazine which was in KOOLE’s right front short’s pocket. Koole was allowed to depart with
the firearm in the trunk of his vehicle (light blue Ford sedan) at 1355 hour.

5. On 9/14/2010, the day prior to appearing at the VA facility, Koole made
telephone contact with two VA employees communicating threats against his ex-girlfriend. In
one call he indicated that he recently bought a gun and if the VA doesn’t take care of it, he will.
According to a witness statement obtained by VA Police, Koole told a Licensed Clinical Social

Worker who was checking on Koole,“I’m going to kill this women (sic).”

IV. CONCLUSION

6. ln consideration of the foregoing, I respectfully request that this court issue an
arrest warrant for Reinier Koole based upon the information developed and evidence recovered
through the course of this investigation that there is probable cause to believe that the laws

regulating possession of a firearm on a federal facility, as herein before described violated Title

18 U.S.C. Section 930(a). y %;

PAUL MASTANDO

Special Agent

United States Department of Veteran Affairs
Office of Inspector General

 

Sworn and Subscribed before me on

this %zciiy er 52§@’@£1§°'2010.
/

MMES M. HoPKINsV
UNITED sTATEs MAGISTRATE JUDGE

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